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                    United States Court of Appeals for the Ninth Circuit

                                      Office of the Clerk
                                       95 Seventh Street
                                    San Francisco, CA 94103

            Information Regarding Judgment and Post-Judgment Proceedings

Judgment
     •           This Court has filed and entered the attached judgment in your case.
                Fed. R. App. P. 36. Please note the filed date on the attached
                decision because all of the dates described below run from that date,
                not from the date you receive this notice.

Mandate (Fed. R. App. P. 41; 9th Cir. R. 41-1 & -2)
    •     The mandate will issue 7 days after the expiration of the time for
          filing a petition for rehearing or 7 days from the denial of a petition
          for rehearing, unless the Court directs otherwise. To file a motion to
          stay the mandate, file it electronically via the appellate ECF system
          or, if you are a pro se litigant or an attorney with an exemption from
          using appellate ECF, file one original motion on paper.

Petition for Panel Rehearing (Fed. R. App. P. 40; 9th Cir. R. 40-1)
Petition for Rehearing En Banc (Fed. R. App. P. 35; 9th Cir. R. 35-1 to -3)

(1)     A.      Purpose (Panel Rehearing):
        •       A party should seek panel rehearing only if one or more of the following
                grounds exist:
                ►    A material point of fact or law was overlooked in the decision;
                ►    A change in the law occurred after the case was submitted which
                      appears to have been overlooked by the panel; or
                ►    An apparent conflict with another decision of the Court was not
                      addressed in the opinion.
        •       Do not file a petition for panel rehearing merely to reargue the case.

        B.      Purpose (Rehearing En Banc)
        •       A party should seek en banc rehearing only if one or more of the following
                grounds exist:



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                ►       Consideration by the full Court is necessary to secure or maintain
                        uniformity of the Court’s decisions; or
                ►       The proceeding involves a question of exceptional importance; or
                ►       The opinion directly conflicts with an existing opinion by another
                        court of appeals or the Supreme Court and substantially affects a
                        rule of national application in which there is an overriding need for
                        national uniformity.

(2)     Deadlines for Filing:
        •    A petition for rehearing may be filed within 14 days after entry of
             judgment. Fed. R. App. P. 40(a)(1).
        •    If the United States or an agency or officer thereof is a party in a civil case,
             the time for filing a petition for rehearing is 45 days after entry of judgment.
             Fed. R. App. P. 40(a)(1).
        •    If the mandate has issued, the petition for rehearing should be
             accompanied by a motion to recall the mandate.
        •    See Advisory Note to 9th Cir. R. 40-1 (petitions must be received on the
             due date).
        •    An order to publish a previously unpublished memorandum disposition
             extends the time to file a petition for rehearing to 14 days after the date of
             the order of publication or, in all civil cases in which the United States or an
             agency or officer thereof is a party, 45 days after the date of the order of
             publication. 9th Cir. R. 40-2.

(3)     Statement of Counsel
        •    A petition should contain an introduction stating that, in counsel’s
              judgment, one or more of the situations described in the “purpose” section
              above exist. The points to be raised must be stated clearly.

(4)     Form & Number of Copies (9th Cir. R. 40-1; Fed. R. App. P. 32(c)(2))
        •    The petition shall not exceed 15 pages unless it complies with the
             alternative length limitations of 4,200 words or 390 lines of text.
        •    The petition must be accompanied by a copy of the panel’s decision being
             challenged.
        •    An answer, when ordered by the Court, shall comply with the same length
             limitations as the petition.
        •    If a pro se litigant elects to file a form brief pursuant to Circuit Rule 28-1, a
             petition for panel rehearing or for rehearing en banc need not comply with
             Fed. R. App. P. 32.


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      •      The petition or answer must be accompanied by a Certificate of Compliance
             found at Form 11, available on our website at www.ca9.uscourts.gov under
             Forms.
      •      You may file a petition electronically via the appellate ECF system. No paper copies are
             required unless the Court orders otherwise. If you are a pro se litigant or an attorney
             exempted from using the appellate ECF system, file one original petition on paper. No
             additional paper copies are required unless the Court orders otherwise.

Bill of Costs (Fed. R. App. P. 39, 9th Cir. R. 39-1)
       •     The Bill of Costs must be filed within 14 days after entry of judgment.
       •     See Form 10 for additional information, available on our website at
             www.ca9.uscourts.gov under Forms.

Attorneys Fees
     •     Ninth Circuit Rule 39-1 describes the content and due dates for attorneys fees
           applications.
     •     All relevant forms are available on our website at www.ca9.uscourts.gov under Forms
           or by telephoning (415) 355-7806.

Petition for a Writ of Certiorari
       •     Please refer to the Rules of the United States Supreme Court at
             www.supremecourt.gov

Counsel Listing in Published Opinions
     •     Please check counsel listing on the attached decision.
     •     If there are any errors in a published opinion, please send a letter in writing
           within 10 days to:
           ►      Thomson Reuters; 610 Opperman Drive; PO Box 64526; St. Paul, MN 55164-
                  0526 (Attn: Jean Green, Senior Publications Coordinator);
            ►     and electronically file a copy of the letter via the appellate ECF system by using
                  “File Correspondence to Court,” or if you are an attorney exempted from using
                  the appellate ECF system, mail the Court one copy of the letter.




      Post Judgment Form - Rev. 08/2013                                                        3
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Form 10. Bill of Costs ................................................................................................................................(Rev. 12-1-09)


                                    United States Court of Appeals for the Ninth Circuit

                                                                        BILL OF COSTS

                                        This form is available as a fillable version at:
             http://cdn.ca9.uscourts.gov/datastore/uploads/forms/Form%2010%20-%20Bill%20of%20Costs.pdf .

   Note: If you wish to file a bill of costs, it MUST be submitted on this form and filed, with the clerk, with proof of
         service, within 14 days of the date of entry of judgment, and in accordance with 9th Circuit Rule 39-1. A
         late bill of costs must be accompanied by a motion showing good cause. Please refer to FRAP 39, 28
         U.S.C. § 1920, and 9th Circuit Rule 39-1 when preparing your bill of costs.


                                                             v.                                                            9th Cir. No.


       The Clerk is requested to tax the following costs against:




       Cost Taxable
      under FRAP 39,                               REQUESTED                                                           ALLOWED
     28 U.S.C. § 1920,                    (Each Column Must Be Completed)                                      (To Be Completed by the Clerk)
      9th Cir. R. 39-1
                                      No. of       Pages per          Cost per        TOTAL              No. of      Pages per        Cost per        TOTAL
                                      Docs.          Doc.              Page*           COST              Docs.         Doc.            Page*           COST

   Excerpt of Record                                              $              $                                                $              $


   Opening Brief                                                  $              $                                                $              $

   Answering Brief                                                $              $                                                $              $

   Reply Brief                                                    $              $                                                $              $

   Other**                                                        $              $                                                $              $

                                                                  TOTAL: $                                                       TOTAL: $

   * Costs per page: May not exceed .10 or actual cost, whichever is less. 9th Circuit Rule 39-1.
   ** Other: Any other requests must be accompanied by a statement explaining why the item(s) should be taxed
             pursuant to 9th Circuit Rule 39-1. Additional items without such supporting statements will not be
             considered.

   Attorneys' fees cannot be requested on this form.
                                                                                                                                        Continue to next page
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Form 10. Bill of Costs - Continued



I,                                         , swear under penalty of perjury that the services for which costs are taxed
were actually and necessarily performed, and that the requested costs were actually expended as listed.


Signature
("s/" plus attorney's name if submitted electronically)

Date

Name of Counsel:


Attorney for:




(To Be Completed by the Clerk)

Date                                         Costs are taxed in the amount of $


                                            Clerk of Court

                                             By:                                            , Deputy Clerk
